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                        IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                     Plaintiff,                              Case No. 21-CR-40 (TNM)

                       -v.-

CHRISTOPHER QUAGLIN,

                    Defendant.


                DEFENDANT’S MOTION FOR LEAVE TO FILE UNDER SEAL
                   EXHIBIT A TO HIS MOTION FOR A CONTINUANCE

       Undersigned counsel respectfully moves this Court for the entry of an Order granting Defendant

the right to file under seal Exhibits A, B, C, D, E, F, G, in accordance with the procedures outlined

in Local Rule 5.4


Dated: New York, NY
       April 10, 2023

                                                      Respectfully submitted,

                                                      /s/ Joseph D. McBride, Esq.
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